       Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 1 of 29




LAWRENCE G. WASDEN
ATTORNEY GENERAL

STEVEN L. OLSEN, ISB #3586
Chief, Civil Litigation Division

MEGAN A. LARRONDO, ISB #10597            JOAN E. CALLAHAN, ISB #9241
BRIAN V. CHURCH, ISB #9391               NAYLOR & HALES, P.C.
ALAN W. FOUTZ, ISB #11533                Special Deputy Attorney General
INGRID C. BATEY, ISB #10022              950 W. Bannock Street, Ste. 610
Deputy Attorneys General                 Boise, ID 83702
CLAY R. SMITH, ISB #6385                 Telephone No. (208) 383-9511
Special Deputy Attorney General          Facsimile No. (208) 383-9516
954 W. Jefferson Street, 2nd Floor       joan@naylorhales.com
P.O. Box 83720
Boise, ID 83720-0010
Telephone: (208) 334-2400
Facsimile: (208) 854-8073
megan.larrondo@ag.idaho.gov
brian.church@ag.idaho.gov

Attorneys for Defendant State of Idaho

                           UNITED STATES DISTRICT COURT

                                   DISTRICT OF IDAHO

UNITED STATES OF AMERICA,                 Case No. 1:22-cv-329

                      Plaintiff,          STATE OF IDAHO’S RESPONSE TO
                                          THE UNITED STATES’ MOTION
v.                                        FOR A PRELIMINARY
                                          INJUNCTION (Dkt. 17)
THE STATE OF IDAHO,

                      Defendant.
             Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 2 of 29




                                                       TABLE OF CONTENTS
                                                                                                                                                  Page

INTRODUCTION ...........................................................................................................................1

BACKGROUND .............................................................................................................................1

           I.         The Emergency Medical Treatment and Labor Act (EMTALA) ................................ 2

           II.        Idaho Code § 18-622 .................................................................................................... 4

           III.        Post-Dobbs Developments .......................................................................................... 5

LEGAL STANDARDS ........................................................................................................................ 6

ARGUMENT ........................................................................................................................................ 7

           I.         The United States Has Not Established a Likelihood of Success in Its Facial
                      Challenge to the Application of Idaho Code § 18-622 To EMTALA-Covered
                      Abortions ...................................................................................................................... 9

                      A.       The United States’ Facial Preemption Challenge to Idaho
                               Code § 18-622 Fails .......................................................................................... 9

                               1. Section 18-622 and the stabilization requirement ..................................... 11

                               2. Criminal liability and good-faith medical judgment
                                  affirmative defense .................................................................................... 14

           II.       Lack of Irreparable Harm ............................................................................................ 17

           III.       Balance of Equities and Public Interest ...................................................................... 18

CONCLUSION .............................................................................................................................20




STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - ii
            Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 3 of 29




                                                TABLE OF AUTHORITIES
Cases                                                                                                                           Page

Ariz. State Legis. v. Ariz. Indep. Redistricting Comm’n,
        576 U.S. 787 (2015) ...........................................................................................................20

Armstrong v. Exceptional Child Center, Inc.,
      675 U.S. 320 (2015) .............................................................................................................7

Bryant v. Adventist Health Sys./West,
       8 F.3d 1162 (9th Cir. 2002) .................................................................................................8

Cf. Alexander v. Sandoval,
       532 U.S. 275 (2001) .............................................................................................................7

Cherukuri v. Shalala,
      175 F.3d 446 (6th Cir. 1999) .......................................................................................13, 16

Cipollone v. Liggett Group, Inc.,
       505 U.S. 504 (1992) ...........................................................................................................14

Dobbs v. Jackson Women’s Health Organization,
      --- U.S. ---, 142 S. Ct. 2228 (2022) ............................................................................ passim

Drakes Bay Oyster Co. v. Jewell,
      747 F.3d 1073 (9th Cir. 2014) ............................................................................................6

Draper v. Chiapuzio,
      9 F.3d 1391 (9th Cir. 1993) ...............................................................................................14

Eberhardt v. City of Los Angeles,
      62 F.3d 1253 (9th Cir. 1995) .........................................................................................2, 15

Gatewood v. Wash. Healthcare Corp.,
      933 F.2d 1037, 290 U.S.App.D.C. 31 (D.C. Cir. 1991) ......................................................2

Gonzales v. Carhart,
      550 U.S. 124 (2007) ...........................................................................................................11

Harry v. Marchant,
       291 F.3d 767 (11th Cir. 2002) ...........................................................................................16

Hawker v. New York,
      170 U.S. 189 (1898) ...........................................................................................................14




STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - iii
            Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 4 of 29




In re Volkswagen "Clean Diesel" Mktg., Sales Pracs., & Prod. Liab. Litig.,
        959 F.3d 1201 (9th Cir. 2020), cert. denied, 142 S. Ct. 521 (2021) ................................15

John Doe No. 1 v. Reed,
      561 U.S. 186 (2010) ...........................................................................................................10

Kowalski v. Tesmer,
      543 U.S. 125 (2004) .............................................................................................................7

Maryland v. King, 567 U.S. 1301,
      ### (2012) ..........................................................................................................................19

Matter of Baby “K”,
       16 F.3d 590 (4th Cir. 1994) ...............................................................................................13

Mazurek v. Armstrong,
      520 U.S. 968 (1997) .............................................................................................................6

Nat’l Fed’n of Indep. Bus. v. Sebelius,
       567 U.S. 519 (2012) .......................................................................................................8, 19

Nken v. Holder,
       556 U.S. 418 (2009) .............................................................................................................6

Palomar Med. Ctr. v. Sebelius,
      693 F.3d 1151 (9th Cir. 2012) .............................................................................................1

Puente Arizona v. Arpaio,
       821 F.3d 1098 (9th Cir. 2016) ............................................................................................6

Roe v. Wade,
       410 U.S. 113 (1973) ...................................................................................................... 5, 16

Summers v. Earth Island Inst.,
     555 U.S. 488 (2009) .............................................................................................................8

United States v. Salerno,
       48 U.S. 739 (1987) .........................................................................................................6, 10

United States v. Texas,
       557 F. Supp. 3d 810 (W.D. Tex. 2021)................................................................................7

Wash. State Grange v. Wash. State Republican Party,
       552 U.S. 442 (2008) ...............................................................................................10, 11, 17




STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - iv
            Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 5 of 29




Winter v. Nat. Res. Def. Council, Inc.,
       555 U.S. 7 (2008) ...................................................................................................... 6, 7, 17

Wyeth v. Levine,
       555 U.S. 555 (2009) .......................................................................................................... 15

Statutes

Emergency Medical Treatment and Labor Act (EMTALA), 42 U.S.C................................. passim

          §§ 1395-1395lll ...................................................................................................................1

          § 1395cc ...............................................................................................................................2

          § 1395dd...............................................................................................................................3

          § 1395dd(a) ....................................................................................................................3, 18

          § 1395dd(b)(1) .....................................................................................................................3

          § 1395dd(b)(1)(A)................................................................................................................3

          § 1395dd(b)(1)(B) ................................................................................................................3

          § 1395dd(c) ..........................................................................................................................3

          § 1395dd(d) ..........................................................................................................................7

          § 1395dd(d)(2) .....................................................................................................................8

          § 1395dd(e)(1) .....................................................................................................................3

          § 1395dd(e)(3)(A) ................................................................................................................3

          § 1395dd(f).............................................................................................................1, 4, 9, 14




STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - v
            Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 6 of 29




Regulations

42 C.F.R. § 489.24 ...........................................................................................................................2

42 C.F.R. § 489.24(a)(ii)..................................................................................................................4

42 C.F.R. § 489.24(b) ......................................................................................................................2

42 C.F.R. § 489.24(d)(2)(i) ..............................................................................................................4

42 C.F.R. § 489.24(d)(2)(ii) .............................................................................................................4

Idaho Statutes

Idaho Code § 18-604(1) ...............................................................................................................5, 9

Idaho Code § 18-622.............................................................................................................. passim

Idaho Code § 18-622(2) ......................................................................................................... passim

Idaho Code § 18-622(3) .................................................................................................................10

Idaho Code § 18-622(3)(a).........................................................................................................5, 10

Idaho Code § 18-622(3)(b) ..............................................................................................................5

Idaho Code § 18-622(4) ...................................................................................................................5

S.B. 1385, 65th Leg., 2d Reg. Sess. (Idaho 2020) ...........................................................................4

Other Authorities

FACT SHEET: President Biden Issues Executive Order at the First meeting of the Task Force
      on Reproductive Healthcare Access (Aug. 3 2022), THE WHITE HOUSE (Aug. 3, 2022),
      https://www.whitehouse.gov/briefing-room/statements-releases/2022/08/03/fact-sheet-
      president-biden-issues-executive-order-at-the-first-meeting-of-the-task-force-on-
      reproductive-healthcare-access-2/........................................................................................6

Letter to Health Care Providers, SECRETARY OF HEALTH AND HUMAN SERVICES,
        https://www.hhs.gov/sites/default/files/emergency-medical-care-letter-to-health-care-
        providers.pdf .......................................................................................................................6

Preventing Patient Dumping: Sharpening the COBRA’s Fangs, 61 N.Y.U. L. Rev. 1186,
       1187-88 (1986).................................................................................................................... 2




STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - vi
            Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 7 of 29




Protecting Access to Reproductive Healthcare Services.” Exec. Order No. 14,076,87 Fed. Reg.
        42053-54 (2022), available at
        https://www.federalregister.gov/documents/2022/07/13/2022-15138/protecting-access-to-
        reproductive-healthcare-services ........................................................................................5

Reinforcement of EMTALA Obligations specific to Patients who are Pregnant or are Experiencing
       Pregnancy Loss, CENTERS FOR MEDICARE & MEDICAID SERVICES (July 11, 2022),
       https://www.cms.gov/files/document/qso-22-22-Hospitals.pdf
       (last visited Aug. 16 2022) ..................................................................................................6

Remarks by President Biden on the Supreme Court Decision to Overturn Roe v. Wade, THE WHITE
      HOUSE (June 24, 2022), https://www.whitehouse.gov/briefing-room/speeches-
      remarks/2022/06/24/remarks-by-president-biden-on-the-supreme-court-decision-to-
      overturn-roe-v-wade/ ............................................................................................................5




STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - vii
         Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 8 of 29




                                        INTRODUCTION

       The United States seeks here to undermine Idaho’s policy choice of how to regulate

abortion, as allowed by Dobbs, by wielding its substantial financial clout under the Medicare

program to invalidate that choice. Rather than awaiting an actual instance of supposed conflict, it

asks this Court for broad injunctive relief that far exceeds what settled legal principles

countenance. The United States asks this Court to only partially read the Emergency Medical

Treatment and Labor Act’s preemption provision that says that “[t]he provisions of [EMTALA]

do not preempt any State or local law requirement, except to the extent that the requirement directly

conflicts with a requirement of this section.” 42 U.S.C. § 1395dd(f). The United States’ own

declarations fail to demonstrate a direct conflict between EMTALA and Idaho Code § 18-622.

       In sum, the United States seeks a far-reaching preliminary injunction—one manifestly

inconsistent with the preemption provision in EMTALA—preventing the State, its officers,

employees, and agents, from enforcing Idaho’s abortion regulation when stabilizing treatment is

required by EMTALA. But the United States has not met its burden for issuance of a preliminary

injunction. It fails to satisfy the requirements of a facial challenge because it cannot demonstrate

that all applications of Section 18-622 are inconsistent with EMTALA requirements. The other

factors do not favor granting a preliminary injunction. The United States’ motion for a preliminary

injunction should be denied.

                                        BACKGROUND

       The federal government allows hospitals to participate as providers in its Medicare

program. 42 U.S.C. §§ 1395-1395lll. “Medicare is a federally funded health insurance program for

aged and disabled persons.” Palomar Med. Ctr. v. Sebelius, 693 F.3d 1151, 1154-55 (9th Cir.

2012). A hospital, as a provider of services under Medicare, is subject to various requirements as



STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - 1
         Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 9 of 29




part of its relationship with the federal government, which are expressed in a provider agreement.

42 U.S.C. § 1395cc. A particular set of requirements applies to a hospital with an emergency

department, which are expressed in the Emergency Medical Treatment and Labor Act (EMTALA),

42 U.S.C. § 1395dd. By regulation, the Centers for Medicare and Medicaid Services (CMS) has

more specifically identified what the provider agreement requires of hospitals with respect to

EMTALA. 42 C.F.R. § 489.24. In this litigation, the United States contends that there is a conflict

between the requirements of EMTALA and the soon-to-be-effective Idaho Code § 18-622.

I.     The Emergency Medical Treatment and Labor Act (EMTALA)

       Congress enacted EMTALA in 1986 to address the then-growing concern about “patient

dumping”—the transfer or discharge of expensive-to-treat uninsured patients for whom “hospitals

have an economic incentive to dump.” Note, Preventing Patient Dumping: Sharpening the

COBRA’s Fangs, 61 N.Y.U. L. Rev. 1186, 1187-88 (1986) (citation omitted). EMTALA was

passed to require hospital emergency departments to provide “adequate emergency room medical

services to individuals who seek care, particularly as to the indigent and uninsured.” Eberhardt v.

City of Los Angeles, 62 F.3d 1253, 1255 (9th Cir. 1995) (citing H.R. Rep. No. 241, 99th Cong.,

1st Sess. (1986)); see also Gatewood v. Wash. Healthcare Corp., 933 F.2d 1037, 1039, 290 U.S.

App. D.C. 31, 33 (D.C. Cir. 1991).

       For hospitals with an emergency department, 1 if a person “comes to the emergency

department and a request is made on the individual’s behalf for examination or treatment for a

medical condition,” EMTALA requires that the hospital provide an “appropriate medical screening



1
 Federal regulations identify this as a hospital that is licensed to have an emergency department,
or holds itself out as providing, or actually provides (for at least one-third of all outpatient visits)
“care for emergency medical conditions on an urgent basis without requiring a previously
scheduled appointment,” 42 C.F.R. § 489.24(b).


STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - 2
          Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 10 of 29




examination within the capability of the hospital’s emergency department” to determine whether

an emergency medical condition exists. 42 U.S.C. § 1395dd(a). 2

          If a hospital determines that the individual has an emergency medical condition, the

hospital must offer to provide stabilizing treatment or transfer. Id. § 1395dd(b)(1). If the hospital

offers stabilizing treatment, it must, “within the staff and facilities available at the hospital,”

provide “for such further medical examination and such treatment as may be required to stabilize

the medical condition.” Id. § 1395dd(b)(1)(A). If the hospital offers to transfer the individual to

another medical facility, it must do so in accordance with 42 U.S.C. § 1395dd(c). Id.

§ 1395dd(b)(1)(B).

          With respect to stabilizing treatment, to “stabilize” means “with respect to an emergency

medical condition, to provide such medical treatment of the condition as may be necessary to

assure, within reasonable medical probability, that no material deterioration of the condition is

likely to result from or occur during the transfer of the individual from a facility, or [for a pregnant

woman who is having contractions] to deliver (including the placenta).” Id. § 1395dd(e)(3)(A).




2
    An emergency medical condition is defined by the statute, 42 U.S.C. § 1395dd(e)(1) to mean:
         (A) a medical condition manifesting itself by acute symptoms of sufficient severity
         (including severe pain) such that the absence of immediate medical attention could
         reasonably be expected to result in—
                 (i) placing the health of the individual (or, with respect to a pregnant woman, the
                 health of the woman or her unborn child) in serious jeopardy,
                 (ii) serious impairment to bodily functions, or
                 (iii) serious dysfunction of any bodily organ or part; or
         (B) with respect to a pregnant woman who is having contractions—
                 (i) that there is inadequate time to effect a safe transfer to another hospital before
                 delivery, or
                 (ii) that transfer may pose a threat to the health or safety of the woman or the
                 unborn child.


STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - 3
        Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 11 of 29




       A hospital’s obligation to a patient in the emergency department with an emergency

medical condition under EMTALA is not indefinite or unlimited. Rather, the requirement to

provide stabilizing treatment ends when either: (1) the patient is stabilized within the limits of the

capabilities of the staff and facilities of the hospital; or (2) the hospital transfers the person to

another hospital in accordance with EMTALA’s requirements. 42 C.F.R. § 489.24(a)(ii). Further,

“EMTALA’s stabilization requirement ends when an individual is admitted for inpatient care.”

Bryant v. Adventist Health Sys./West, 289 F.3d 1162, 1168 (9th Cir. 2002). Hence, a hospital or

physician has satisfied its EMTALA obligation when a patient is admitted by the hospital in good

faith to provide further treatment even where the patient has not yet been stabilized. 42 C.F.R.

§ 489.24(d)(2)(i). Moreover, EMTALA does not apply to an inpatient “who was admitted for

elective (nonemergency) diagnosis or treatment.” Id. § 489.24(d)(2)(ii).

       EMTALA also contains a preemption provision to prevent overriding state laws that may

regulate the same arena but do not directly conflict with EMTALA. That provision provides: “The

provisions of this section do not preempt any State or local law requirement, except to the extent

that the requirement directly conflicts with a requirement of this section.” 42 U.S.C. § 1395dd(f).

II.    Idaho Code § 18-622

       In 2020, the Idaho Legislature enacted the Trigger Law. S.B. 1385, 65th Leg., 2d Reg.

Sess. (Idaho 2020). This legislation was codified at Idaho Code § 18-622. The U.S. Supreme

Court’s July 26, 2022 judgment in Dobbs means Idaho Code § 18-622 will be effective 30 days

from July 26, 2022.

       Under Idaho Code § 18-622, performing or attempting to perform an abortion carries

criminal and administrative penalties. Idaho Code § 18-622(2). “Abortion” is defined as “the use

of any means to intentionally terminate the clinically diagnosable pregnancy of a woman with



STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - 4
        Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 12 of 29




knowledge that the termination by those means will, with reasonable likelihood, cause the death

of the unborn child . . . .” Idaho Code § 18-604(1).

       Idaho Code § 18-622 provides two affirmative defenses to criminal prosecution and

disciplinary actions by licensing authorities. The first applies when a physician determines, “in his

good faith medical judgment and based on the facts known to the physician at the time,” that “the

abortion was necessary to prevent the death of the pregnant woman” and “provided the best

opportunity for the unborn child to survive, unless, in his good faith medical judgment, termination

of the pregnancy in that manner would have posed a greater risk of the death of the pregnant

woman.” Idaho Code § 18-622(3)(a). The second applies when, prior to the abortion, “the act of

rape or incest [has been reported] to a law enforcement agency” and “a copy of such report” has

been provided to the physician who will perform the abortion. Id. § 18-622(3)(b). Section 18-622

is not violated if medical treatment provided to a pregnant woman by a health care professional

“results in the accidental death of, or unintentional injury to, the unborn child.” Id. § 18-622(4).

III.   Post-Dobbs Developments

       On the day the Supreme Court released the Dobbs decision, the President remarked that

his administration would take immediate action to counteract Dobbs. 3 A subsequent executive

order required the Department of Health and Human Services (HHS) to consider updates to

guidance regarding emergency conditions and stabilizing care. 4 HHS through CMS released



3
  Remarks by President Biden on the Supreme Court Decision to Overturn Roe v. Wade, THE
WHITE HOUSE (June 24, 2022), https://www.whitehouse.gov/briefing-room/speeches-
remarks/2022/06/24/remarks-by-president-biden-on-the-supreme-court-decision-to-overturn-roe-
v-wade/.
4
 Protecting Access to Reproductive Healthcare Services, Exec. Order No. 14076, 87 Fed. Reg.
42053-54 (July 8, 2022), https://www.federalregister.gov/documents/2022/07/13/2022-
15138/protecting-access-to-reproductive-healthcare-services.


STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - 5
         Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 13 of 29




guidance suggesting that state laws prohibiting abortion but not including an exception for the life

and health of the pregnant person were preempted. 5 Approximately three weeks later, the United

States filed this suit. 6

                                      LEGAL STANDARDS

        Injunctive relief is “an extraordinary remedy that may only be awarded upon a clear

showing that the plaintiff is entitled to such relief.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S.

7, 22 (2008) (citing Mazurek v. Armstrong, 520 U.S. 968, 972 (1997)). A plaintiff seeking a

preliminary injunction must establish: (1) a likelihood of success on the merits; (2) likely

irreparable harm in the absence of a preliminary injunction; (3) that the balance of equities weighs

in favor of an injunction; and (4) that an injunction is in the public interest. See id. at 20. Because

the government is a party, the last two factors are analyzed together. See Drakes Bay Oyster Co.

v. Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014) (citing Nken v. Holder, 556 U.S. 418, 435 (2009)).

        Under a preemption claim, a party pursuing a facial challenge “must show that ‘no set of

circumstances exists under which the Act would be valid.’” Puente Arizona v. Arpaio, 821 F.3d

1098, 1104 (9th Cir. 2016) (citing United States v. Salerno, 481 U.S. 739, 746(1987)). Such a

showing is a “high bar” that the plaintiff must overcome. Id.




5
   Reinforcement of EMTALA Obligations specific to Patients who are Pregnant or are
Experiencing Pregnancy Loss, CENTERS FOR MEDICARE & MEDICAID SERVICES (July 11, 2022),
https://www.cms.gov/files/document/qso-22-22-Hospitals.pdf (last visited Aug. 16 2022); see
also Letter to Health Care Providers, SECRETARY OF HEALTH AND HUMAN SERVICES,
https://www.hhs.gov/sites/default/files/emergency-medical-care-letter-to-health-care-
providers.pdf (last visited Aug. 16, 2022).
6
 FACT SHEET: President Biden Issues Executive Order at the First meeting of the Task Force
on Reproductive Healthcare Access, THE WHITE HOUSE (Aug. 3, 2022),
https://www.whitehouse.gov/briefing-room/statements-releases/2022/08/03/fact-sheet-president-
biden-issues-executive-order-at-the-first-meeting-of-the-task-force-on-reproductive-healthcare-
access-2/.
STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - 6
        Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 14 of 29




                                           ARGUMENT

       This memorandum primarily focuses on whether the United States has established a

likelihood of success with respect to a facial challenge to Idaho Code § 18-622 and whether the

remaining Winter factors warrant a preliminary injunction. Plainly, it does not.

       But Idaho is constrained to note that the complaint raises other questions of significant

import that eventually may require resolution. First, does the Supremacy Clause create a right of

action in the United States? Judicial attention to this issue subsequent to Armstrong v. Exceptional

Child Center, Inc., 575 U.S. 320 (2015), is sparse and conclusory. See United States v. Texas, 557

F. Supp. 3d 810, 820 (W.D. Tex. 2021). Here, EMTALA creates a detailed remedial scheme for

its enforcement by the federal government, 42 U.S.C. § 1395dd(d), and implication of a separate

Supremacy Clause right of action is unnecessary. Cf. Alexander v. Sandoval, 532 U.S. 275, 289-

90 (2001) (noting statutory enforcement provisions countered against implied right of action).

       Next, if no such right of action exists, does the United States have Article III or prudential

standing? The complaint alleges the injury that Section 18-622 purportedly will visit upon

physicians and their patients when they are under the provisions of EMTALA, Compl. (Dkt. 1)

¶¶ 44-46, but fails to explain how it has third-party standing to redress that hypothetical injury. As

the U.S. Supreme Court explained in Kowalski v. Tesmer, 543 U.S. 125 (2004), “[w]e have adhered

to the rule that a party ‘generally must assert his own legal rights and interests, and cannot rest his

claim to relief on the legal rights or interests of third parties’” with the narrow exception in

circumstances where “the party asserting the right has a ‘close’ relationship with the person who

possesses the right” and where “there is a ‘hindrance’ to the possessor's ability to protect his own

interests.” Id. at 129-30 (citation omitted). Physicians, of course, can represent their own interests

if prosecuted under Section 18-622 or through a pre-enforcement challenge if they face an



STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - 7
        Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 15 of 29




imminent threat of prosecution or professional discipline. See, e.g., Summers v. Earth Island Inst.,

555 U.S. 488, 493 (2009). A patient injured by a hospital’s violation of EMTALA has a damages

remedy under the statute, 42 U.S.C. § 1395dd(d)(2), and/or a malpractice suit under state law.

Bryant, 289 F.3d at 1166. Given these remedies, the United States lacks third-party standing.

       Last, the complaint alleges that the United States “has an interest in protecting the integrity

of the funding it provides under Medicare and ensuring that hospitals who are receiving Medicare

funding will not refuse to provide stabilizing treatment to patients experiencing medical

emergencies.” Dkt. 1 ¶ 49. No doubt this is at least partially true. See Nat’l Fed’n of Indep. Bus. v.

Sebelius, 567 U.S. 519, 676 (2012) (Ginsburg, J., dissenting in part). But, here, the complaint does

not allege that Idaho operates a hospital emergency department to which EMTALA applies. In

fact, Idaho’s sole State-operated hospital participating in Medicare lacks an emergency

department. Randy Rodriquez Decl. Under these circumstances, it defies common sense to argue

that Idaho has violated some contract-like commitment by adopting Section 18-622. The requisite

injury-in-fact for Article III standing on a Medicare-contract theory is absent.

       For present purposes, however, it is enough to defeat the United States’ motion to apply

straightforward, settled facial challenge principles. To the extent that the United States argues that

compliance with both EMTALA’s stabilization requirement and Section 18-622 is impossible, its

own expert declarations tell a different story. Many EMTALA abortions are necessary to save the

mother’s life. The “impossibility” prong of conflict preemption is thus not satisfied. To the extent

that the United States argues that mere possibility of prosecution under Section 18-622 will chill

the willingness of physicians to provide abortions “to stabilize” a patient, it ignores the heavy

burden placed on it to show a “direct[] conflict[]” with an EMTALA “requirement” (42 U.S.C.




STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - 8
        Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 16 of 29




§ 1395dd(f)) that warrants preemption of an otherwise valid state law—and especially one that

implicates Idaho’s core police power to regulate both abortion and the practice of medicine.

I.     The United States Has Not Established a Likelihood of Success in Its Facial Challenge
       to the Application of Idaho Code § 18-622 to EMTALA-Covered Abortions

       A.      The United States’ Facial Preemption Challenge to Idaho Code § 18-622 Fails

       The United States contends that Idaho Code § 18-622 “conflicts with EMTALA by

subjecting physicians to criminal prosecution for terminating any pregnancy, irrespective of the

medical circumstances.” Mem. In Supp. Of Mot. For a Prelim. Inj. (Dkt. 17-1), at 8. Unraveled,

this conflict preemption claim has two independent prongs: the statute, in material part, (1) makes

the performance of an abortion (as defined in Idaho Code § 18-604(1)) unlawful and (2) imposes

criminal liability on the performing physician unless (s)he “determined, in his good faith medical

judgment and based on the facts known to the physician at the time, that the abortion was necessary

to prevent the death of the pregnant woman.” The first alleged defect arises because EMTALA

“does not exempt any particular treatment (abortion or otherwise) from the ambit of stabilizing

treatment” and “any contrary interpretation—i.e., that a hospital need not perform an abortion even

when medically necessary to stabilize an emergency medical condition—would undermine

EMTALA’s overall purpose of ensuring ‘that patients . . . receive adequate medical emergency

care.’” Dkt. 17-1, at 11. The second alleged defect arises because “[r]elegating any exception from

criminal liability to an affirmative defense ... poses an obstacle to EMTALA’s ‘overarching

purpose of ensuring that patients . . . receive adequate emergency medical care,’” and “will render

physicians less inclined or entirely unwilling to risk providing treatment.” Dkt. 17-1, at 16. 7



7
  The United States additionally asserts that “the Idaho law conflicts with EMTALA by threatening
the licenses of medical professionals who perform or assist in providing an abortion.” Dkt. 17-1,
at 16. This assertion similarly posits Section 18-622 “deters medical professionals from


STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - 9
        Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 17 of 29




       The United States thus mounts a facial challenge to Section 18-622 with respect to any

abortion performed to stabilize a medical emergency subject to EMTALA—even those when the

abortion is necessary to save the mother’s life. See Dkt. 17-1, at 20 (proposing an order “that the

State of Idaho—including all of its officers, employees, and agents—[should be preliminarily

enjoined] from enforcing Idaho Code § 18-622(2)-(3) as applied to EMTALA-mandated care. 8 As

the Supreme Court stated in John Doe No. 1 v. Reed, 561 U.S. 186, 194 (2010), “[t]he important

point [for facial challenge status] is that plaintiffs' claim and the relief that would follow ... reach

beyond the particular circumstances of these plaintiffs” or, in this case, the particular

circumstances of an abortion. And so even though the United States’ brief at times uses “as-

applied,” Dkt. 17-1, at 2, 7, 20, it is apparent it alleges a conflict in all instances in which both

EMTALA and Section 18-622 apply, and thus brings a facial challenge.

        “[A] plaintiff can only succeed in a facial challenge by ‘establish[ing] that no set of

circumstances exists under which the Act would be valid,’ i.e., that the law is unconstitutional in

all of its applications.” Wash. State Grange v. Wash. State Republican Party, 552 U.S. 442, 449

(2008) (quoting United States v. Salerno, 481 U.S. 739, 745 (1987)); see also Puente Arizona v.

Arpaio, 821 F.3d 1098, 1104 (9th Cir. 2016) (Although “Salerno's applicability in preemption

cases is not entirely clear[,] ... [w]ithout more direction, we have chosen to continue applying

Salerno.”). This daunting standard reflects the fact that “[f]acial challenges are disfavored”

because, inter alia, “they raise the risk of ‘premature interpretation of statutes on the basis of

factually barebones records[]’” and “threaten to short circuit the democratic process by preventing



participating in medically necessary abortions, contrary to EMTALA’s ‘overarching purpose of
ensuring that patients . . . receive adequate emergency medical care[.]’” Id. at 17.
8
  Section 18-622(3) establishes an affirmative defense for pregnancies resulting from rape or
incest. The United States does not address that subsection discretely in its preemption argument.
STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - 10
        Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 18 of 29




laws embodying the will of the people from being implemented in a manner consistent with the

Constitution.” Wash. State Grange, 552 U.S. at 450-51; see Gonzales v. Carhart, 550 U.S. 124,

168 (2007) (“We note that the statute here applies to all instances in which the doctor proposes to

use the prohibited procedure, not merely those in which the woman suffers from medical

complications. It is neither our obligation nor within our traditional institutional role to resolve

questions of constitutionality with respect to each potential situation that might develop.”).

               1.      Section 18-622 and the Stabilization Requirement

       The United States’ declarants give both hypothetical and anecdotal examples of when the

performance of an abortion to effect EMTALA-required stabilization was or would be medically

appropriate. For example, Dr. Lee Fleisher provides generalized examples of illness that could

jeopardize a pregnant woman’s life or her health. Fleisher Decl. (Dkt. 17-3) ¶¶ 13 (ectopic

pregnancy), 15 (pulmonary hypertension or embolism/severe heart failure), 17 (pre-eclampsia), 19

(uterine infection), 21 (placental abruption)). But the illnesses he references are those where a

doctor could exercise good faith medical judgment to determine that the patient’s life was in

danger. See White Decl. ¶¶ 2-7 (explaining that ectopic pregnancy, ¶ 3; heart failure, ¶ 4; severe

preeclampsia, ¶ 5; life-threatening infection, ¶ 6; and placental abruption accompanied by

uncontrolled bleeding, ¶ 7; are all conditions, under the asserted facts, in which Dr. White could

make a good faith medical judgment that an abortion was necessary to prevent the death of the

pregnant woman). Further, despite Dr. Fleisher’s decades of experience as a physician, he does

not provide any specific examples of instances where a patient was suffering a non-life-threatening

emergency medical condition under EMTALA that required an abortion. Significantly, Dr.

Fleisher’s discussions of the medical conditions that he identified often reference that a physician

would have taken other measures first to control the patient’s symptoms, such as antibiotics or



STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - 11
        Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 19 of 29




blood pressure support, and that it is after these measures have been unsuccessful that the abortion

became necessary to prevent the reasonably probable outcome of death. Dkt. 17-3 ¶¶ 15, 17, 19.

Hence, the United States fails to establish that even when a pregnant patient presents with one of

these conditions that an abortion is always necessary; it will depend on the patient’s condition and

circumstances and responses to treatment.

       The supporting declarations from the Idaho physicians also conclude that in the

circumstances presented an abortion was necessary because of the high risk of death or to preserve

or protect her life. Corrigan Decl. (Dkt. 17-6) ¶¶ 15, 22, 23, 28; Cooper Decl. (Dkt. 17-7) ¶¶ 7, 9,

11; Seyb Decl. (Dkt. 17-8) ¶¶ 8, 10, 12. Dr. Corrigan’s declaration provides examples of three

“Jane Doe” patients who required emergency abortions. Dkt. 17-6 ¶¶ 9-30. Jane Doe 1 suffered a

“risk of life-threatening . . . infection,” id. ¶ 11, and the termination of Jane Doe 1’s pregnancy

was “necessary” to “preserve her life.” Id. ¶ 15. For Jane Doe 2, “the risk of her death . . . was

imminent[.]” Id. ¶ 23. Jane Doe 3 suffered a “dangerous pregnancy complication that can result in

serious and potentially fatal complications” carrying “a high risk of maternal and fetal death.” Id.

¶¶ 27-28. As Dr. Corrigan explained, all of these examples are dire cases where the abortion was

necessary to preserve the life of the pregnant woman. These cases simply do not fall within a zone

of conflict between Section 18-622 and EMTALA. So, too, Drs. Cooper’s and Seyb’s declarations

contain anecdotal “Jane Doe” examples, and each patient suffered from life-threatening conditions,

with an abortion necessary to preserve her life. Dkt. 17-7 ¶¶ 6-11; Dkt. 17-8 ¶¶ 7-13. Dr. Seyb

asserts in his declaration that he and his colleagues encounter such “pregnancy-related

emergencies approximately a dozen times per year.” Dkt. 17-8 ¶ 6. But if the examples cited in the

United States’ declarations are representative samples, those cases—dire as they may be—are

simply not cases where Section 18-622 conflicts with EMTALA. In short, the United States merely



STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - 12
        Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 20 of 29




identifies circumstances when stabilizing treatment necessitated by EMTALA includes an

abortion. However, it fails to articulate or establish an example where the Idaho statute makes that

abortion unlawful. Rather, the medical doctors have given their medical opinions that each

abortion described was necessary to prevent death based on an evaluation of the circumstances

and the unsuccessful measures that were attempted. The United States itself thus negates the

supposed conflict between EMTALA and Section 18-622 in myriad real-life medical emergencies.

       Notably, these scenarios, and the medical opinions rendered about them, are inherently

fact-based (as is expressly recognized in Section 18-622), which disagreements about appropriate

medical care inherently are. Therefore, it is unsurprising that litigation over the application of the

EMTALA stabilization mandate has arisen only in as-applied contexts, with a focus on whether a

hospital or physician provided “medical treatment of the condition as may be necessary to assure,

within reasonable medical probability, that no material deterioration of the condition is likely to

result from or occur during the transfer of the individual from a facility[.]” 42 U.S.C.

§ 1995dd(e)(3)(A). The Sixth Circuit accordingly has held that “the word ‘stabilized’ is defined,

but the definition is not given a fixed or intrinsic meaning. Its meaning is purely contextual or

situational. The definition depends on the risks associated with the transfer and requires the

transferring physician, faced with an emergency, to make a fast on-the-spot risk analysis.”

Cherukuri v. Shalala, 175 F.3d 446, 449–50 (6th Cir. 1999). In sum, a claim that Section 18-622

conflicts with the stabilization mandate is only appropriate for an as-applied, not a facial,

challenge, if one were even to arise. See Matter of Baby “K,” 16 F.3d 590, 597 (4th Cir. 1994)

(State statute exempting a physician from providing care deemed medically or ethically

inappropriate did “not allow the physicians treating Baby K to refuse to provide her with

respiratory support.”)



STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - 13
        Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 21 of 29




               2.      Criminal Liability and Good-Faith Medical Judgment Affirmative Defense

       The United States’ facial challenge to the criminal liability provisions in Section 18-622(2)

and (3) similarly fails but for different reasons. Unlike many federal statutes, EMTALA not only

specifically addresses the issue of preemption but also saves from preemption “any State or local

law requirement, except to the extent that the requirement directly conflicts with a requirement of

this section.” 42 U.S.C. § 1395dd(f) (emphasis added). The Ninth Circuit has issued binding

instructions on how to construe this savings provision.

       “When Congress has considered the issue of preemption and has included in the enacted

legislation a provision explicitly addressing that issue, and when that provision provides a reliable

indicium of congressional intent with respect to state authority, there is no need to infer

congressional intent to preempt state laws from the substantive provisions of the legislation.”

Draper v. Chiapuzio, 9 F.3d 1391, 1393 (9th Cir. 1993) (per curiam). This Court therefore must

“look only to this language and construe its preemptive effect as narrowly as possible.” Id. (citing

Cipollone v. Liggett Group, Inc., 505 U.S. 504, 517 (1992)). As for Section 1395dd(f), “[t]he key

phrase is ‘directly conflicts.’ A state statute directly conflicts with federal law in either of two

cases: first, if ‘compliance with both federal and state regulations is a physical impossibility ... or

second, if the state law is ‘an obstacle to the accomplishment and execution of the full purposes

and objectives of Congress.’” Id. (citations omitted).

       Here, the United States argues that the mere possibility of prosecution for an abortion

performed for stabilization purposes, together with “the affirmative defense structure itself,” Dkt.

17-1, at 15, gives rises to an impermissible obstacle because such possibility will chill the

willingness of physicians (or assisting medical professionals) to provided EMTALA-covered

services. This argument should be rejected for at least three reasons.



STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - 14
        Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 22 of 29




        First, the EMTALA savings provision demands a “direct[] conflict[]” with an EMTALA

“requirement.” As demonstrated above, and confirmed in the declaration of Dr. White, there is no

direct conflict in factual scenarios presented by the United States. A physician can satisfy

EMTALA’s requirement to provide the necessary stabilization and avoid liability under Section

18-622 because the abortion was also necessary to prevent death. Furthermore, the United States

identifies no other “requirement.” Rather, the United States characterizes it as a conflict with

“EMTALA’s ‘overarching purpose of ensuring that patients ... receive adequate emergency

medical care[.]’” But as the Ninth Circuit has recognized in another context, “[w]e may not

interpret a saving clause as preserving a state law that would so conflict and interfere with a federal

enactment that it would defeat the federal law’s purpose or essentially nullify it.” In re Volkswagen

"Clean Diesel" Mktg., Sales Pracs., & Prod. Liab. Litig., 959 F.3d 1201, 1214 (9th Cir. 2020),

cert. denied, 142 S. Ct. 521 (2021). The United States’ abortion-centric argument mischaracterizes

EMTALA’s specific objective of preventing hospitals from dumping medically unstable patients

(through discharge or transfer to another medical facility) because they were unable to pay.

Eberhardt v. City of Los Angeles, 62 F.3d 1253, 1255 (9th Cir. 1995). The range of emergency

room services subject to EMTALA is immense, and as shown above, may even include abortions.

To suggest that Section 18-622 would “essentially nullify” the federal law is thus no more than

rhetorical flourish.

        Second, it is settled that “[i]n all pre-emption cases, and particularly in those in which

Congress has ‘legislated ... in a field which the States have traditionally occupied,’ ... we ‘start

with the assumption that the historic police powers of the States were not to be superseded by the

Federal Act unless that was the clear and manifest purpose of Congress.’” Wyeth v. Levine, 555

U.S. 555, 565 (2009) (cleaned up). Regulation of the medical profession has long been recognized



STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - 15
        Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 23 of 29




as a quintessential state area of concern. E.g., Hawker v. New York, 170 U.S. 189, 192-93 (1898)

(“No precise limits have been placed upon the police power of a state, and yet it is clear that

legislation which simply defines the qualifications of one who attempts to practice medicine is a

proper exercise of that power.”). As was abortion prior to Roe v. Wade, 410 U.S. 113 (1973). See

Dobbs, 142 S. Ct. 2228, 2256 (2022) (noting that prior to Roe every single state had a law

criminalizing abortion). Consequently, construing “any State . . . requirement” in Section

1395dd(f) to exclude generally applicable abortion statutes ignores this established tradition of

deference to the state police power. The remedy for any alleged inconsistency between such a

statute and EMTALA’s stabilization mandate is an as-applied, not a facial, challenge by a

physician.

       Third, the United States’ “chilling” preemption argument ignores the fact that EMTALA

does not foreclose state law-based personal injury suits against physicians for allegedly negligent

emergency room care. See, e.g., Harry v. Marchant, 291 F.3d 767, 773 (11th Cir. 2002)

(“EMTALA was not intended to establish guidelines for patient care, to replace available state

remedies, or to provide a federal remedy for medical negligence.”). It is hardly reasonable to argue

that such civil remedies may not have a deterrent impact on the willingness of physicians to

perform emergency room procedures—which often demand “a fast on-the-spot risk analysis.”

Cherukuri, 175 F.3d at 450. The United States’ chilling argument, in short, proves too much. 9




9
  The facial conflict-preemption claim predicated on possible loss of licensure by any health care
professional “who assists in performing or attempting to perform [a criminal] abortion,” Idaho
Code § 18-622(2), fails for those reasons discussed immediately above. The United States simply
cloaks its policy dissatisfaction with this aspect of the statute, and the speculative chilling effect
provides no basis for finding that the provision would “essentially nullify” EMTALA’s goal of
eradicating “patient dumping.”
STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - 16
        Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 24 of 29




        In total, the United States fails to meet its burden to show on its facial challenge that no set

of circumstances exists under which Section 18-622 can be lawfully applied. Wash. State Grange,

552 U.S. at 449. In fact, it has done the opposite and shown many circumstances in which

EMTALA and Idaho’s law can operate without conflict. Section 18-622 neither defeats nor

nullifies EMTALA’s purpose of ensuring that patients receive stabilizing care for an emergency

medical condition, including those involving complications to pregnancy. The first, and most

important, of the Winter factors weighs heavily in Idaho’s favor.

II.     Lack of Irreparable Harm

        The United States first contends that “allowing the Idaho law to go into effect would

threaten severe harm to pregnant patients in Idaho.” Dkt. 17-1, at 17. But this assertion does not

show irreparable harm to the United States. Nor does Idaho Code § 18-622 threaten harm to

Idaho’s pregnant women, as the examples provided by the United States’ declarations from Drs.

Corrigan, Cooper, and Seyb identified situations for which a doctor may exercise good faith

medical judgment to determine that an abortion is necessary to preserve the life of the pregnant

woman. The Idaho statute does not deprive persons coming to the emergency department “critical

emergency care.” Indeed, the United States identified approximately 100 cases of ectopic

pregnancies in Idaho receiving Medicaid covered treatment, but it did not say how many of those

were treatments subject to EMTALA; how many of those treatments were abortions; and why the

abortions would not be covered under Idaho Code § 18-622’s affirmative defense, given that

ectopic pregnancy puts a “patient's life in jeopardy . . . and in the vast majority of cases [will] cause

. . . potentially fatal internal bleeding.” Dkt. 17-3 ⁋ 13.

        The United States asserts that “emergency medical conditions will occur for a sizeable

number of pregnant patients within Idaho.” Dkt. 17-1, at 18. It further speculates that physicians



STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - 17
        Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 25 of 29




will be discouraged “from providing necessary care in emergency situations.” Id. It even asserts

that “there is a likelihood that some pregnant [women] suffering medical emergencies will face

irreversible health consequences,” id., but as discussed above, the examples provided by its doctors

all fall within Idaho Code § 18-622’s good faith medical judgment that abortion was necessary to

prevent the death of the pregnant woman. The United States admits this point in just one of many

examples (illustrating again why the facial challenge fails), where Dr. Corrigan determined that

“termination [of the pregnancy] was necessary to preserve [the woman’s] life.” Dkt. 17-1, at 19.

        Further, one fact that should be reiterated is that EMTALA’s scope is narrow—it applies

when a person “comes to the emergency department” and ends upon the hospital’s provision of

the stabilizing treatment or transfer. 42 U.S.C. § 1395dd(a)-(c). EMTALA does not apply to

inpatients or outpatients; nor does EMTALA apply outside the context of hospital emergency room

treatment—e.g., EMTALA does not apply to an abortion clinic. For this reason, the United States’

attempts to assert “injury” unrelated to its claim under EMTALA does not show the need for a

preliminary injunction.

III.    Balance of the Equities and the Public Interest

        The United States next contends its sovereign interest is harmed by Idaho regulating

abortion—even though the U.S. Supreme Court concluded states were authorized to do just that.

Dkt. 17-1, at 19. It says that Idaho is disrupting the Medicare program and depriving the United

States of the benefits of its bargain with hospitals. Id. Not so. Idaho is regulating abortion through

a criminal statute of general applicability, just as it regulates other aspects of offenses that it deems

inimical to the public interest. Conversely, it is not regulating Medicare or the hospitals’




STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - 18
        Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 26 of 29




participation in Medicare. 10 And contrary to the United States’ claim, Idaho is not prohibiting

hospitals from “performing EMTALA-mandated services.” Id.

       Each sovereign operates within its own sphere of responsibility, and if Idaho attempts to

invade the area marked out by EMTALA in a particular instance, an aggrieved party has recourse

to challenge that alleged overreach. The mere fact that such a dispute may arise in the future does

not establish some equitable entitlement to an injunctive net that captures a broad range of entirely

lawful state conduct. The equities here are thus evenly balanced, with both governments rightly

insisting on preserving their legitimate sovereign interests.

       The United States’ next contention, that the Idaho law interferes with the provider

agreements with the 52 hospitals (although the United States admits only 39 have emergency

departments), fares no better. Id. at 20. Idaho is not interfering with any terms of the agreements

between the hospitals and the United States, as Idaho has simply exercised its police power to

regulate abortion. Nothing in the text of Idaho Code § 18-622 purports to interact or interfere with

hospitals’ provider agreements with the United States.

       And here, contrary to the United States’ argument, it would be Idaho that would be injured

if it were prevented, even in the narrow circumstances of EMTALA, from effectuating the statute

enacted by its representatives of the people. Maryland v. King, 567 U.S. 1301, 1303 (2012)

(Rehnquist, J., in chambers). Post-Dobbs, the balance of equities and public interest clearly lie in



10
  In fact, given that approximately $3.4 billion in Medicare funds went to Idaho hospitals between
fiscal years 2018-2020, Dkt. 17-1, at 6, the United States’ position that Idaho must alter its policy
in favor of the United States’ policy or have the hospitals risk such funds raises serious concerns
that EMTALA’s required stabilizing treatment, as interpreted by the United States and expressed
in this litigation, is invalid as coercive spending clause legislation. See Nat’l Fed. of Indep. Buss.
v. Sebelius, 567 U.S. 519, 575-87 (2012). This reason raises another point as to why the United
States is not likely to succeed on the merits. But as discussed above, this memorandum focuses
primarily on whether there is a direct conflict between the EMTALA and Idaho Code § 18-622,
which there is not.
STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - 19
          Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 27 of 29




allowing Idaho to regulate abortion as its elected representatives determine best suit the citizenry.

See Ariz. State Legis. v. Ariz. Indep. Redistricting Comm’n, 576 U.S. 787, 817 (2015) (“This Court

has ‘long recognized the role of the States as laboratories for devising solutions to difficult legal

problems.’”).

                                          CONCLUSION

          For these reasons, the United States’ motion for a preliminary injunction should be

denied.

          DATED this 16th day of August, 2022.

                                               OFFICE OF THE ATTORNEY GENERAL


                                               By: /s/ Brian V. Church
                                                     STEVEN L. OLSEN
                                                     MEGAN A. LARRONDO
                                                     BRIAN V. CHURCH
                                                     ALAN W. FOUTZ
                                                     INGRID C. BATEY
                                                     Deputy Attorneys General

                                                       CLAY R. SMITH
                                                       JOAN E. CALLAHAN
                                                       Special Deputy Attorneys General




STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - 20
        Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 28 of 29




                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 16th day of August, 2022, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic
Filing to the following persons:

 BRIAN DAVID NETTER                             DANIEL W. BOWER
 DOJ-Civ                                        Morris Bower & Haws PLLC
 Civil Division                                 dbower@morrisbowerhaws.com
 brian.netter@usdoj.gov
                                                MONTE NEIL STEWART
 DANIEL SCHWEI                                  Attorney at Law
 DOJ-Civ                                        monteneilstewart@gmail.com
 Federal Programs Branch
 daniel.s.schwei@usdoj.gov                      Attorneys for Intervenors-Defendants

 JULIE STRAUS HARRIS                            JAY ALAN SEKULOW
 DOJ-Civ                                        sekulow@aclj.org
 Civil Division, Federal Programs Branch
 julie.strausharris@usdoj.gov
                                                JORDAN A. SEKULOW
 LISA NEWMAN                                    jordansekulow@aclj.org
 DOJ-Civ
 Civil Division, Federal Programs Branch        STUART J. ROTH
 lisa.n.newman@usdoj.gov                        Stuartroth1@gmail.com
 ANNA LYNN DEFFEBACH                            OLIVIA F. SUMMERS
 DOJ-Civ
 Civil Division, Federal Programs Branch        osummers@aclj.org
 anna.l.deffebach@usdoj.gov
                                                LAURA B. HERNANDEZ
 CHRISTOPHER A. EISWERTH                        lhernandez@aclj.org
 DOJ-Civ
 Federal Programs Branch                        Attorneys for Amicus Curiae
 christopher.a.eiswerth@usdoj.gov               American Center for Law & Justice
 EMILY NESTLER
 DOJ-Civ                                        WENDY OLSON
 emily.b.nestler@usdoj.gov                      Stoel Rives LLP
                                                wendy.olson@stoel.com
 Attorneys for Plaintiff United States of
 America                                        JACOB M. ROTH
                                                Jones Day
 LAURA ETLINGER                                 jroth@jonesday.com
 New York State Office
 of the Attorney General                        AMANDA K. RICE
 laura.Etlinger@ag.ny.gov                       Jones Day
 Attorney for Amici States                      arice@jonesday.com
 California, New York, Colorado, Connecticut,
 Delaware, Hawaii, Illinois, Maine, Maryland, Attorneys for Amici Curiae
 Massachusetts, Michigan, Minnesota,          The American Hospital Association and the

STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - 21
       Case 1:22-cv-00329-BLW Document 66 Filed 08/16/22 Page 29 of 29



 Nevada, New Jersey, New Mexico, North      Association of American Medical Colleges
 Carolina, Oregon, Pennsylvania, Rhode
 Island, Washington, and Washington, D.C.   SHANNON ROSE SELDEN
                                            Debevoise & Plimpton LLP
                                            srselden@debevoise.com

                                            ADAM B. AUKLAND-PECK
                                            Debevoise & Plimpton LLP
                                            Aaukland-peck@debevoise.com

                                            LEAH S. MARTIN
                                            Debevoise & Plimpton LLP
                                            lmartin@debevoise.com

                                            Attorneys for Amici Curiae American College
                                            of Emergency Physicians, Idaho Chapter of
                                            the American College of Emergency
                                            Physicians, American college of Obstetricians
                                            and Gynecologists, Society for Maternal-
                                            Fetal Medicine, National Medical
                                            Association, National Hispanic Medical
                                            Association, American Academy of
                                            Pediatrics, American Academy of Family
                                            Physicians, American Public Health
                                            Association, and American Medical
                                            Association


      AND I FURTHER CERTIFY that on such date I served the foregoing on the following
non-CM/ECF Registered Participant via email:

            CHARLOTTE H. TAYLOR
            Jones Day
            ctaylor@jonesday.com


                                                     /s/ Brian V. Church
                                                     BRIAN V. CHURCH
                                                     Deputy Attorney General




STATE OF IDAHO’S RESPONSE TO THE UNITED STATES’
MOTION FOR A PRELIMINARY INJUNCTION (Dkt. 17) - 22
